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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICTR OF KENTUCKY
                                 OWENSBORO DIVISION

ROY K. YOQUELET, JR.,                         )
                                              )
             Plaintiff,                       )
                                              )
                     v.                       ) CAUSE NO: 4:15-CV-55-JHM
                                              )
AKAL SECURITY INC.,                           )
DR. G. GOLDHAGEN, in his individual capacity, )
JANELLE HOHNKE, in her individual capacity, )
unknown agents of the FEDERAL                 )
OCCUPATIONAL HEALTH AGENCY, and               )
unknown agents of the U.S. MARSHAL SERVICE )
                                              )
                                              )
             Defendants.                      )

               AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                                       I. Nature of the Case

       1.      Plaintiff, Roy K. Yoquelet, Jr. (“Yoquelet”), brings this Complaint against,

AKAL Security Inc. (“AKAL”), for its discriminatory actions toward him based on his age, in

violation of the Age Discrimination in Employment Act, and his disability, in violation of the

American with Disabilities Act ("ADA"), as amended, 42 U.S.C. § 12101 et. seq.

       2.      Yoquelet brings this action against Dr. G. Goldhagen, Janelle Hohnke, other

unknown agents of the Federal Occupational Health Agency (“FOH”), and other unknown

agents of the U.S. Marshal Service (“USMS”) for deprivation of his liberty interest.

                                             II. Parties

       3.      Yoquelet is a citizen of the United States who has resided in Spencer County in

the State of Indiana at all relevant times hereto.

       4.      AKAL is a corporation doing business in the Western District of Kentucky.
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       5.     Dr. G. Goldhagen was employed by the Federal Occupational Health Agency, as

a Reviewing Medical Officer, and participated in the administrative decision to disqualify and

remove Yoquelet from the contract with the United States Marshal Service within the geographic

boundaries of the Western District of Kentucky.

       6.     Janelle Hohnke is employed by the Office of Court Security, Judicial Security

Division, USMS Headquarters in Arlington, Virginia, and participated in the administrative

decision to disqualify and remove Yoquelet from the contract with the United States Marshal

Service.

       7.     Other unknown agents of the Federal Occupational Health Agency participated in

the administrative decision to disqualify and remove Yoquelet from the contract with the United

States Marshal Service within the geographic boundaries of the Western District of Kentucky.

       8.     Other unknown agents of the U.S. Marshal Service participated in the

administrative decision to disqualify and remove Yoquelet from the contract with the United

States Marshal Service within the geographic boundaries of the Western District of Kentucky

                                 III. Jurisdiction and Venue

       9.     Jurisdiction is conferred on this Court over the subject matter of this litigation

pursuant to 28 U.S.C. §1331; 28 U.S.C. §1343; 29 U.S.C. § 626; and 42 U.S.C. § 12117.

       10.    Yoquelet, at all times relevant, was an “employee” as that term is defined by 42

U.S.C. § 12111(4) and 29 U.S.C. § 630(f).

       11.    Yoquelet has a “disability” as that term is defined by 42 U.S.C. § 12102(2).

       12.    Yoquelet is a “qualified individual with a disability” as defined by 42 U.S.C.

§12111(8).




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        13.     AKAL is an “employer” as that term is defined by 42 U.S.C. § 12111(5)(A) and

29 U.S.C. § 630(b).

        14.     Yoquelet satisfied his obligation to exhaust his administrative remedies having

timely filed U.S. Equal Employment Opportunity Commission Charges alleging discrimination

by AKAL based on age and disability. Yoquelet received his Notice of Suit Rights and timely

files this action.

        15.     A substantial portion of the events pertinent to this lawsuit have occurred in the

legal environs of the Western District of Kentucky, thus venue in this Court is proper.

                                     IV. Factual Allegations

        16.     Yoquelet was born on August 2, 1941.

        17.     Yoquelet was hired by AKAL’s predecessor on or about July 1, 1984 as a Court

Security Officer (CSO) at the Owensboro Federal Court. AKAL is contracted with the U.S.

Marshal Service to provide court security. At the time of his termination, Yoquelet served as the

Lead Court Security Officer.

        18.     At all times relevant, Yoquelet met or exceeded AKAL’s legitimate performance

expectations.

        19.     Yoquelet is a qualified individual with a disability as that term is defined by the

ADA, 42 U.S.C. § 12102(2)(c), and/or Defendants regarded Yoquelet as disabled. At all relevant

times, Defendants had knowledge of Yoquelet’s disability and/or it regarded Yoquelet as being

disabled. Yoquelet can perform the essential functions of his position with or without a

reasonable accommodation.

        20.     As part of the U.S. Marshal Services’ requirements, Yoquelet was required to

pass a medical examination each year. In 2013, on his medical report, Yoquelet’s physician



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listed Xarelto, a blood thinner, as one of the medications Yoquelet was taking. Yoquelet was

medically cleared to perform his position and given no limitations.

       21.     In or about September 2013, Yoquelet, as required, submitted to his medical

testing for the following year. In or about January 2014, Dr. Goldhagen, Hohnke, and other

unknown agents of the FOH and USMS removed Yoquelet from duty and requested further

medical information.

       22.     Yoquelet promptly had his physicians provide further medical information and

testing, and his physicians again placed no restrictions on Yoquelet.

       23.     Despite this, Dr. Goldhagen, Hohnke, and other unknown FOH and USMS agents

again requested further testing, this time including a stress test. Yoquelet complied with all

requests for additional information and/or testing.

       24.     On or about April 21, 2014, Dr. Goldhagen, Hohnke, and other unknown FOH

and USMS agents directed that Yoquelet discontinue performing under the contract because he

allegedly did not meet the medical standards. However, Yoquelet could perform his duties and

was medically cleared by his physicians. On or about April 22, 2014, AKAL terminated

Yoquelet’s employment.

       25.     Similarly situated younger individuals who are not disabled have had similar

circumstances and have not been terminated.

                                       V. Causes of Action

                          Count I: AKAL – Disability Discrimination

       26.     Yoquelet hereby incorporates by reference paragraphs one (1) through twenty-

five (25) as if the same were set forth at length herein.




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       27.        Yoquelet was terminated from his employment from AKAL on the basis of his

disability in violation of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.

       28.        Defendant AKAL’s actions were intentional, willful and in reckless disregard of

Yoquelet’s rights as protected by the ADA.

       29.        Yoquelet has suffered and continues to suffer harm as a result of Defendant

AKAL’s unlawful actions.

                               Count II: AKAL – Age Discrimination

       30.        Yoquelet hereby incorporates by reference paragraphs one (1) through twenty-

nine (29) as if the same were set forth at length herein.

       31.        Defendant AKAL discriminated against Yoquelet based on his age.

       32.        Defendant AKAL willfully and intentionally discriminated against Yoquelet on

the basis of his age in violation of the ADEA.

       33.        Yoquelet has suffered damages as a result of Defendant AKAL’s unlawful

actions.

      Count V: Dr. Goldhagen, Hohnke and other unknown FOH and USMS agents –
                           Violation of the Fifth Amendment

       34.        Yoquelet hereby incorporates by reference paragraphs one (1) through thirty-three

(33) as if the same were set forth at length herein.

       35.        Dr. Goldhagen, Hohnke, and other unknown FOH and USMS agents removed

Yoquelet from the U.S. Marshal Service contract with AKAL on the basis of his disability and/or

age in violation of his liberty interest protected by the Fifth Amendment to the United States

Constitution. .

       36.        Dr. Goldhagen, Hohnke, and other unknown FOH and USMS agents’ actions

were willful, intentional, and done with reckless disregard for Yoquelet’s civil rights.

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        37.     Yoquelet has suffered injury as a result of the Dr. Goldhagen, Hohnke, and other

unknown FOH and USMS agents’ unlawful actions.

                                       VI. Requested Relief

        WHEREFORE, Plaintiff, Roy K. Yoquelet, Jr., by counsel, respectfully requests that this

Court find for Plaintiff and:

        1.      Permanently enjoin Defendants from engaging in any policy or practice that

discriminates against any employee or contractor on the basis of his/her disability and age;

        2.      Reinstate the Plaintiff to his former position or award front pay in lieu thereof;

        3.      Order that the Plaintiff be awarded any back pay he would have earned, including

fringe benefits, with related monetary benefits and interest thereon, absent Defendants’ unlawful

acts;

        4.      Award the Plaintiff compensatory damages, consequential damages, and lost

wages and benefits in an amount sufficient to compensate Plaintiff for the damages caused by the

Defendants’ unlawful acts;

        5.      Award the Plaintiff punitive damages and liquidated damages from AKAL;

        6.      Award the Plaintiff his attorney fees, litigation expenses, and costs incurred as a

result of this action;

        7.      Award the Plaintiff pre- and post-judgment interest on all sums recoverable; and

        8.      Grant such other relief as may be just and proper.




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                                              Respectfully submitted,

                                              s/ Andrew Dutkanych
                                              Andrew Dutkanych, Atty. No. 91190
                                              BIESECKER DUTKANYCH & MACER, LLC
                                              411 Main Street
                                              Evansville, IN 47708
                                              Telephone:    (812) 424-1000
                                              Facsimile:    (812) 424-1005
                                              Email:        ad@bdlegal.com

                                              Attorneys for Plaintiff, Roy K. Yoquelet, Jr.




                                 DEMAND FOR JURY TRIAL

       The Plaintiff, Roy K. Yoquelet, Jr., by counsel, respectfully requests a jury trial as to all

issues deemed so triable.



                                              Respectfully submitted,

                                              s/ Andrew Dutkanych
                                              Andrew Dutkanych, Atty. No. 91190
                                              BIESECKER DUTKANYCH & MACER, LLC
                                              411 Main Street
                                              Evansville, IN 47708
                                              Telephone:    (812) 424-1000
                                              Facsimile:    (812) 424-1005
                                              Email:        ad@bdlegal.com

                                              Attorneys for Plaintiff, Roy K. Yoquelet, Jr.




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